
USCA1 Opinion

	










          December 7, 1995  United States Court of Appeals
                                For the First Circuit
                                 ____________________

          No. 95-1462

                                      CEH, INC.,

                                 Plaintiff, Appellee,

                                          v.

                          F/V SEAFARER (ON 675048), ET AL.,

                               Defendants, Appellants.

                                 ____________________



                                     ERRATA SHEET
                                     ERRATA SHEET


               The opinion of  this Court  issued on November  28, 1995  is
          corrected as follows:

               On  page 11,  line  15 -  insert  the following  text  after
          "Moragne, 398 U.S. at 401-02": "(quoting The Lottawanna, 88  U.S.
           _______                                 ______________
          (21 Wall.) 558, 575 (1875))".

               On page 12, line 10 - change "and" to "[and]". 

               On  page 13,  last line  - insert  the following  text after
          "(5th Cir. 1995)":  "(en banc)".

               On page 14 - delete footnote 9.

               On  page 22,  first  paragraph,  line  11  -  change  "[Lake
                                                                       ____
          Shore.]" to "Lake Shore . . . ."
          _____        __________


























                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


          No. 95-1462

                                      CEH, INC.,

                                 Plaintiff, Appellee,

                                          v.

                          F/V SEAFARER (ON 675048), ET AL.,

                               Defendants, Appellants.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________


                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                      Coffin and Aldrich, Senior Circuit Judges.
                                          _____________________

                                 ____________________


               Leonard W. Langer with whom Marshall J. Tinkle was on brief
               _________________           __________________
          for appellants.
               Mark A. McSally for appellee.
               _______________


                                 ____________________

                                  November 28, 1995
                                 ____________________

























               COFFIN, Senior Circuit Judge.  Defendant-appellants, the F/V
                       ____________________

          SEAFARER, a fishing trawler, and Michael Doyle and Charles Niles,

          its owner  and captain respectively, appeal  the district court's

          decision  after  a  bench  trial  finding  them  liable  for  the

          destruction   of   appellee's   lobstering   gear   and  imposing

          compensatory and  punitive damages.   CEH, Inc. v.  F/V Seafarer,
                                                _________     ____________

          880  F.  Supp. 940  (D.R.I. 1995).   Defendants  challenge, inter
                                                                      _____

          alia,  the  sufficiency  of  the evidence,  the  availability  of
          ____

          punitive damages as  a matter  of law, and  the district  court's

          adoption of the  Restatement (Second) of Torts    909 as  a basis
                           _____________________________

          for vicarious liability.  We affirm.

                                    I.  BACKGROUND
                                    I.  BACKGROUND

               The  facts,  as  the  court  found  them,  are  as  follows.

          Plaintiff-appellee  CEH,  Inc.  ("CEH")  owns  the  F/V  COURTNEY

          ELIZABETH, an off-shore lobstering  vessel based in Point Judith,

          Rhode  Island.   During May  and June  of 1992,  CEH owned  4,200

          lobster   traps,  2,857  of  which  were  grouped  off  shore  in

          arrangements referred  to as "lobster  trawls."  A  lobster trawl

          consists of  40 to 55 traps  connected to each other  by a ground

          line.   Each end  of the ground  line is attached  to a blivet, a

          cement block that keeps the trawl  in place.  A rope extends from

          the  top of each blivet to a  high flier, a floatable device that

          consists of ring  floats, an aluminum pole and  a flag, and which

          is often marked with  radar reflectors.  The high fliers mark the

          location of the lobster traps below.




                                         -3-














               The  COURTNEY ELIZABETH  regularly tended  to these  lobster

          traps, but  between May 13, 1992 and June 7, 1992, she was ashore

          undergoing repairs.  From May 19 to May 23, another vessel hauled

          and reset the traps.  Upon returning to  duty on June 7, the crew

          of the COURTNEY ELIZABETH discovered that 1,093 traps and related

          equipment were  missing.   Subsequently, CEH brought  this action

          against defendants, alleging that during two trips between May 23

          and June  7,  the  SEAFARER  dragged  through  CEH's  trawls  and

          destroyed 671 traps.1

               The SEAFARER  is a trawler that  drags for fish by  way of a

          net extending beyond its  stern.  During May and June,  1992, the

          SEAFARER was dragging for  monkfish, a fish found near  the ocean

          floor,  often  in  close  proximity  to  high  concentrations  of

          lobster.  The shared migrations of these  species typically cause

          an  overlap in  the operating  areas of draggers  and lobstermen,

          causing  tensions  between the  two groups.   The  close quarters

          result in inevitable gear  conflicts, with trawlers often hauling

          up lobster traps unintentionally.   Trawlers generally dispose of

          damaged,  destroyed  or  abandoned  traps  ("ghost  gear"),   but

          customarily return working traps ("fixed gear") to their owner. 

               During  her first  trip,  May 23  to  May 24,  the  SEAFARER

          operated under the direction of Captain Roger Smith, with Charles

          Niles  serving  as  mate.   On  May 24,  the  captain  of another

          lobstering vessel observed the SEAFARER in the area of several of
                              
          ____________________

               1  CEH initially accused defendants of destroying  all 1,093
          traps, but amended this figure upon discovering that the SEAFARER
          did not tow in certain regions.  

                                         -4-














          the COURTNEY ELIZABETH's trawls,  and, through his wife, informed

          Timothy Handrigan,  the vice-president  of CEH, that  his lobster

          trawls  were at risk.   The next  day, Handrigan  called Niles in

          order to  advise  Niles  of the  location  of his  gear.    Niles

          responded that he did not need this information.

               Niles captained the second trip of the SEAFARER, from May 28

          through June 7, 1992.  Also on board were John  McKay (mate), and

          deckhands  Phien Hoang, Niles Pearsall and Richard Baker.  Except

          for  Baker,  who  was  Captain  Niles'  nephew,  all  crewmembers

          regularly  worked on  the SEAFARER.   On  May 29,  Captain Robert

          Buffinton  of the F/V EDNA  MAE observed the  SEAFARER near fixed

          gear  of the COURTNEY ELIZABETH.   Upon approaching the SEAFARER,

          he observed 20 unidentifiable lobster traps on board its deck.  

               Over the next few days, the SEAFARER hauled up and discarded

          approximately  200 traps,  about 140  of which  constituted fixed

          gear.   In addition, the crew  cut loose trawl lines  that became

          entangled in  the nets of  the vessel.   In  total, the  SEAFARER

          destroyed 134 of CEH's traps.

               CEH commenced  this action against the  ship's owner, Doyle,

          and  the  two captains,  Niles and  Smith,  in personam,  and the

          SEAFARER  in  rem,  pursuant  to the  district  court's  maritime

          jurisdiction.  See 28 U.S.C.   1333; Executive Jet Aviation, Inc.
                         ___                   ____________________________

          v.   City  of  Cleveland,  409  U.S.  249  (1972).    CEH  sought
               ___________________

          compensatory damages for negligence, and punitive damages for the

          willful destruction of  its property.   Following a bench  trial,

          the  court absolved  Captain Smith  of  all liability,  but found


                                         -5-














          Niles and the  vessel at fault  for destroying plaintiff's  gear.

          The court further found that Niles acted in reckless disregard of

          CEH's  property rights by towing through its fixed gear, and that

          he acted intentionally  and maliciously in  ordering his crew  to

          cut trawl lines.   The court awarded CEH compensatory  damages in

          the  amount  of  $6,759.81  jointly  and  severally  against  all

          parties, punitive damages against Captain Niles  in the amount of

          $10,000, and punitive damages against Michael Doyle in the amount

          of $50,000.

               Defendants attack the legal and factual bases of the court's

          award.  We address these issues seriatim.

                           II.  SUFFICIENCY OF THE EVIDENCE
                           II.  SUFFICIENCY OF THE EVIDENCE

               To establish liability for negligence under general maritime

          law, CEH needed to prove by a preponderance  of the evidence that

          the  SEAFARER destroyed  CEH's traps,  and that  such destruction

          could  have  been  reasonably avoided.    1st  Bank Southeast  of
                                                    _______________________

          Kenosha, Wis. v. M/V Kalidas, 670 F. Supp. 1421,  1431 (E.D. Wis.
          _____________    ___________

          1987);  see Burgess  v. M/V Tamano,  564 F.2d 964,  977 (1st Cir.
                  ___ _______     __________

          1977).  

               Defendants'  core argument  is  that the  evidence fails  to

          demonstrate that the SEAFARER  destroyed any of CEH's traps.   We

          review  this  factual  issue  in  accordance  with  the  "clearly

          erroneous"  standard  of  Fed. R.  Civ.  P.  52(a).   DiMillo  v.
                                                                _______

          Sheepscot  Pilots,  Inc.,  870 F.2d  746,  749  (1st  Cir. 1989).
          ________________________

          Unless, after examining the record and according due deference to

          the  trial  court, we  form a  "strong  unyielding belief  that a


                                         -6-














          mistake has been made," we will adopt the court's findings.  Juno
                                                                       ____

          SRL v. S/V Endeavour, 58 F.3d 1, 4 (1st Cir. 1995).
          ___    _____________

               The district court  determined that  the SEAFARER  destroyed

          134  of  CEH's traps  and  related  gear  through  the  following

          specific  findings:  the  SEAFARER dragged through  Trawl 114 (50

          wire traps) on May 31,  and Trawls 16 (50 wire traps) and  60 (34

          A-frame  wooden pots)  on June  1, 1992.    In arriving  at these

          findings, the district court relied on a wealth of circumstantial

          evidence,  all  of which  is set  forth  in the  district court's

          opinion,  and need  not  be repeated  here  in entirety.    After

          scrutinizing this evidence, we conclude that the inferences drawn

          by  the district court  were plausible.   As such, we  affirm the

          court's  findings.  Cumpiano v.  Banco Santander Puerto Rico, 902
                              ________     ___________________________

          F.2d  148, 152  (1st  Cir. 1990)  (quoting  Anderson v.  City  of
                                                      ________     ________

          Bessemer City,  470 U.S.  564, 573-74  (1985)  ("If the  district
          _____________

          court's  account of  the evidence  is plausible  in light  of the

          record reviewed in  its entirety,  the court of  appeals may  not

          reverse it  even though convinced that had it had been sitting as

          the  trier  of   fact,  it  would   have  weighed  the   evidence

          differently.")).

               In light of  the factual  complexity of this  case, we  will

          discuss in some detail the key evidence that supports the court's

          findings.  The court relied primarily on the testimony of crewman

          Baker, and on a  comparison of the logbooks  of the SEAFARER  and

          the COURTNEY ELIZABETH.




                                         -7-














               Baker testified that during the trip:  1) the SEAFARER often

          operated within 50 to 100  yards of high fliers; 2) a  high flier

          belonging  to CEH was  towed behind the boat;  3) about 200 traps

          were brought on  deck of  the SEAFARER and  dumped overboard;  4)

          approximately 140 of these traps  were reusable, and roughly  115

          of these belonged  to the  COURTNEY ELIZABETH; and  5) Baker  and

          other crewmembers regularly cut  trawl lines that hung up  on the

          doors  of the  net.   Baker also  asserted that  after the  trip,

          Charles Niles phoned  him in an  effort to induce Baker  to alter

          his recollection of the trip.

               Baker's   testimony,  taken  alone,   permits  a  reasonable

          inference that  the SEAFARER destroyed  a number of  CEH's traps.

          In response, defendants  argue that each of Baker's assertions is

          in conflict  with  the testimony  of  the other  crewmembers  and

          Captain  Niles.   The  district court,  however,  was within  its

          prerogative to  find Baker  "wholly credible"  while disbelieving

          the other witnesses.  See Rivera-Gomez v. de Castro,  900 F.2d 1,
                                ___ ____________    _________

          4 (1st Cir. 1990).

               To  pinpoint  the  dates   on  which  specific  trawls  were

          destroyed, the  court used the log books  of both vessels to plot

          the course of the  SEAFARER against the position of  the COURTNEY

          ELIZABETH's  lobster  trawls.    The court  determined  that  the

          SEAFARER's path  intersected the groundlines of  the three trawls

          on May 31 and June 1.  

               Defendants  contend that inherent  inaccuracies in the Loran

          system and rounding errors  in the log books render  a comparison


                                         -8-














          of the logs  misleading.  Their  expert, Thomas Bushy,  testified

          that the cumulative effect of all possible errors could cause two

          separately  recorded identical readings to be  up to 1.6 nautical

          miles apart.  Nevertheless,  on cross examination, Bushy admitted

          that this figure was  the absolute worst case scenario;  that, in

          fact, he  did not know  whether either vessel's  system contained

          correction factors  that would  have reduced possible  error; and

          that the  locations of the  tows and  the trawls could  have been

          much  closer  together.   Upon  examining  the whole  of  Bushy's

          testimony,  we find  no error  in the  court's plotting  of Loran

          coordinates to reach its specific findings.  

               Baker's testimony, in conjunction with the court's  analysis

          of the  ship logs,  provides sufficient  evidence to support  the

          court's conclusion that the SEAFARER destroyed Trawls  16, 60 and

          114 on May 31 and June 1, 1992.  Niles' failure to take any steps

          to  avoid CEH's traps, as  demonstrated by his  disregard for the

          presence  of high  fliers and  his  rejection of  the information

          offered by Handrigan, establish, at the very least, negligence on

          his part.

               Because the  facts set forth above  sufficiently support the

          court's   disposition,   we    need   not   address   defendants'

          miscellaneous   objections  to  other  pieces  of  circumstantial

          evidence.  In any  event, we find  them unpersuasive.  We  uphold

          the court's  finding of negligence  and its concomitant  award of

          compensatory damages. 

                                III.  PUNITIVE DAMAGES
                                III.  PUNITIVE DAMAGES


                                         -9-














               The  defendants  raise  four  challenges  to  the  award  of

          punitive  damages:  1) both  Niles and Doyle  claim that punitive

          damages are unavailable as a matter of law in a maritime case; 2)

          both  claim   that  punitive  damages  are   unjustified  by  the

          underlying  conduct  in  this  case; 3)  Doyle  claims  that such

          damages  may  not  be   awarded  against  him  through  vicarious

          liability; and 4) both claim that the awards imposed against them

          are excessive. 

          A.  Punitive Damages Under General Maritime Law
          A.  Punitive Damages Under General Maritime Law

               We review  de novo  the district court's  determination that
                          __ ____

          punitive damages are recoverable pursuant to  plaintiff's general

          maritime claims.  See In re Extradition of Howard, 996 F.2d 1320,
                            ___ ___________________________

          1327 (1st Cir. 1993).   

               Although  rarely imposed,  punitive damages  have  long been

          recognized  as an  available remedy  in general  maritime actions

          where  defendant's intentional  or  wanton  and reckless  conduct

          amounted  to a conscious disregard of  the rights of others.  See
                                                                        ___

          The Amiable Nancy, 16  U.S. (3 Wheat.) 546, 558  (1818) (criminal
          _________________

          trespass);  Muratore v. M/S Scotia Prince, 845 F.2d 347, 354 (1st
                      ________    _________________

          Cir.  1988)  (intentional  infliction  of   emotional  distress);

          Protectus Alpha  Navigation Co.  v. North Pacific  Grain Growers,
          _______________________________     ____________________________

          767 F.2d 1379,  1385 (9th Cir.  1985) (destruction of  property);

          Robinson  v. Pocahontas, Inc.,  477 F.2d 1048,  1051-52 (1st Cir.
          ________     ________________

          1973) (willful failure to pay maintenance and cure); In re Marine
                                                               ____________

          Sulphur  Queen, 460 F.2d 89, 105 (2d Cir. 1972) (wrongful death);
          ______________

          Pino  v. Protection Maritime Ins.  Co., 490 F.Supp.  277, 281 (D.
          ____     _____________________________


                                         -10-














          Mass.  1980)  (tortious  interference  with  employment  rights);

          Dredge General, 1944  A.M.C. 948, 948 (S.D.  Fla. 1944) (property
          ______________

          damage);  The Ludlow, 280 F. 162, 163 (N.D. Fla. 1922) (malicious
                    __________

          and unlawful arrest); The Seven Brothers, 170 F. 126, 127 (D.R.I.
                                __________________

          1909) (property damage); Gallagher v. The Yankee, 9 F. Cas. 1091,
                                   _________    __________

          1093 (N.D. Cal. 1859)  (No. 5,196) (unlawful deportation), aff'd,
                                                                     _____

          30 F.  Cas. 781 (C.C.N.D. Cal. 1859) (No. 18,124); Ralston v. The
                                                             _______    ___

          States  Rights, 20  F.  Cas. 201,  209-10  (E.D. Pa.  1836)  (No.
          ______________

          11,540) (collision).

               Nevertheless, in the wake of Miles v. Apex Marine Corp., 498
                                            _____    _________________

          U.S. 19 (1990),  courts have been increasingly  hesitant to allow

          punitive damages  in certain general  maritime actions  involving

          personal injury or death.   In Miles, the Court held, inter alia,
                                         _____                  _____ ____

          that damages recoverable in an action for the wrongful death of a

          seaman do not include  loss of society.  Id. at 37.   In reaching
                                                   ___

          this conclusion,  the Court  enunciated principles  of uniformity

          relevant to wrongful death actions, and more broadly, to maritime

          tort law, which have moved subsequent courts to limit recovery in

          other similar contexts.  Defendants ask us to extend Miles to bar
                                                               _____

          recovery  of  punitive damages  in  all  general maritime  cases.

          However,  as described  more  fully below,  we  believe Miles  is
                                                                  _____

          inapposite to plaintiff's maritime claim.

               In Miles, the mother of a deceased seaman brought a wrongful
                  _____

          death action sounding both in negligence under the Jones Act, and

          unseaworthiness  under  the general  maritime  law.   In  denying

          recovery  for loss of society, a form of nonpecuniary relief, the


                                         -11-














          Court ensured a uniform scheme of recovery regardless of  whether

          a wrongful death action  was brought under the Death on High Seas

          Act  (DOHSA),2  the Jones  Act3 or  general  maritime law.4   The

          statutory actions  provided only for pecuniary  relief: the DOHSA

          explicitly5   and  the   Jones   Act  implicitly,   through   its

          incorporation of  the Federal  Employers'  Liability Act  (FELA),

          which,  prior to  the  enactment  of  the  Jones  Act,  had  been

          construed to allow only pecuniary relief.   Miles, 498 U.S. at 32
                                                      _____

          (citing Michigan Cent.  R. Co.  v. Vreeland, 227  U.S. 59,  69-71
                  ______________________     ________

          (1913)).     The   Court   extended  this   restriction  to   the

          unseaworthiness   claim,   explaining   that   "[i]t   would   be

          inconsistent with our place in the constitutional scheme  were we

          to sanction more expansive remedies in a judicially created cause

          of action in which  liability is without fault than  Congress has

                              
          ____________________

               2    DOHSA,  46  U.S.C.      761,  authorizes  the  personal
          representative of the decedent to bring an action "[w]henever the
          death of  a person shall  be caused by wrongful  act, neglect, or
          default occurring on the high seas." 

               3   The Jones Act, 46  U.S.C.   688, provides  that a seaman
          injured  in the  course of employment,  or his  representative in
          case of death, may  "maintain an action for damages at  law . . .
          and in such action all statutes of the United States modifying or
          extending the common-law  right or  remedy in  cases of  personal
          injury to railway employees shall apply."

               4  In Moragne v. States Marine Lines, Inc. 398 U.S. 375, 409
                     _______    _________________________
          (1970),  the  Court  recognized  a wrongful  death  action  under
          general  maritime   law.    Prior  to   Moragne,  plaintiffs  not
                                                  _______
          satisfying the requirements of DOHSA or the Jones Act had to rely
          on state  wrongful death  acts, which,  if  they existed,  varied
          greatly in nature and scope.

               5   Recovery under DOSHA  is limited to  "the pecuniary loss
          sustained  by the persons for whose benefit the suit is brought."
          46 U.S.C.   762.

                                         -12-














          allowed in cases  of death  resulting from negligence."   Id.  at
                                                                    ___

          33.6 

               The Court's  decision to "restore a  uniform rule applicable

          to  all actions  for  the  wrongful  death  of  a  seaman,"  id.,
                                                                       ___

          logically followed the principle espoused in Moragne, 398 U.S. at
                                                       _______

          401-02  (quoting The  Lottawanna,  88 U.S.  (21  Wall.) 558,  575
                           _______________

          (1875)), to promote "uniformity [that] not  only will further the

          concerns of  both of the 1920  Acts but also will  give effect to

          the constitutionally  based principle that federal  admiralty law

          should  be 'a  system  of  law  coextensive with,  and  operating

          uniformly in,  the whole country.'"   Though these  principles of

          uniformity defy  precise  limits,  we  think it  clear  that  the

          Supreme  Court had  in  mind  the  need  to  defer  to  statutory

          enactments  addressing like issues.   As the  Court reasoned: "In

          this  era, an  admiralty  court should  look  primarily to  these

          legislative enactments for policy  guidance. . . . [and]  must be

          vigilant not to  overstep the well-considered boundaries  imposed

          by  federal legislation."    Miles,  498  U.S.  at  27.    Miles,
                                       _____                         _____

          therefore, does not,  as defendants contend,  signify a call  for

          universal  uniformity  of   maritime  tort  remedy,   but  rather


                              
          ____________________

               6   A shipowner's breach of the warranty of seaworthiness, a
          strict liability obligation, see Miles, 498 U.S.  at 25, provided
                                       ___ _____
          a  basis of liability under the general maritime law.  Therefore,
          a plaintiff suing for  the wrongful death of a seaman could bring
          a Jones Act claim, which required a showing of negligence, and/or
          a  general  maritime  unseaworthiness  claim,  which required  no
          showing  of  fault.    Yet  under  the  unseaworthiness claim,  a
          plaintiff could anticipate, potentially, a much greater  recovery
          than under the Jones Act.

                                         -13-














          emphasizes the importance of uniformity in the face of applicable

          legislation.

               The  cases  post-Miles   reflect  this  focus  on   relevant
                                _____

          legislation.  If  the factual situation  could support an  action

          under  either DOHSA or the Jones Act, then nonpecuniary relief is

          unavailable.  See, e.g., Horsley v. Mobil Oil Corp., 15 F.3d 200,
                        ___  ____  _______    _______________

          203  (1st  Cir.  1994)   (punitive  damages  not  recoverable  in

          unseaworthiness action  for injured  seaman); Miller  v. American
                                                        ______     ________

          President  Lines,  Ltd., 989  F.2d  1450,  1459 (6th  Cir.  1993)
          _______________________

          (punitive damages not available in unseaworthiness action for the

          wrongful death of a seaman);  Rollins v. Peterson Builders, Inc.,
                                        _______    _______________________

          761 F. Supp. 943, 950 (D.R.I. 1991) (same).

               The import of  this legislation in  the context of  personal

          injury  has  led  some  courts  to  bar  nonpecuniary  relief  in

          circumstances addressed by the Jones Act, but involving non-Jones

          Act plaintiffs and defendants.  See,  e.g., Wahlstrom v. Kawasaki
                                          ___   ____  _________    ________

          Heavy  Industries,  Ltd.,  4  F.3d  1084,  1094  (2d  Cir.  1993)
          ________________________

          (concluding, based  in large  part on post-Miles  authority, that
                                                     _____

          representatives  of  a  deceased  nonseaman  could  not   recover
                                            _________

          punitive  damages under  the general  maritime law);   Trahan  v.
                                                                 ______

          Texaco,  Inc.,  625  So.2d 295,  297  (La.  App.  4th Cir.  1993)
          _____________

          (dismissing  a  general maritime  claim  for  loss of  consortium

          brought  by a  seaman's  spouse  against nonemployer  third-party
                                                   ___________

          defendants); but see, e.g.,  Emery v. Rock Island Boatworks,  847
                       ___ ___  ____   _____    _____________________

          F.  Supp.  114,  117-18  (C.D. Ill.  1994)  (injured  passenger's

          husband could recover nonpecuniary  damages because his claim not


                                         -14-














          cognizable under the Jones Act or DOHSA and, therefore,  concerns

          for  uniformity do not exist); Sugden v.  Puget Sound Tug &amp; Barge
                                         ______     _______________________

          Co.,  796 F. Supp.  455, 457 (W.D. Wash.  1992) (wife of deceased
          ___

          seaman  could  recover  nonpecuniary  damages  from  non-employer

          because husband  was not a Jones  Act seaman for purposes  of the

          suit).

               Recently, the  Fifth Circuit held that  cure and maintenance

          claims,  often considered  to lack  a statutory  counterpart, see
                                                                        ___

          Anderson v. Texaco, Inc., 797 F. Supp. 531, 536 (E.D.  La. 1992),
          ________    ____________

          were, in fact, governed  by Miles.  Guevara v.  Maritime Overseas
                                      _____   _______     _________________

          Corp., 59 F.3d 1496, 1512 (5th Cir. 1995) en banc; see also Glynn
          _____                                              ___ ____ _____

          v. Roy Al  Boat Management Corp., 57 F.3d  1495 (9th Cir. 1995).7
             _____________________________

          While at first  glance, Guevara  may seem to  provide comfort  to
                                  _______

          defendants,  a  closer reading  supports  our  belief that  Miles
                                                                      _____

          simply is irrelevant here.

               Guevara followed the  approach set forth  in Miles.   First,
               _______                                      _____

          the  court determined whether the factual setting of the case was

          covered by a  statute like the Jones  Act or DOHSA.   59 F.3d  at

          1506.    Then,  upon  finding a  statutory/general  maritime  law

          overlap,8   the  court  invoked  the  "Miles  damages  uniformity
                                                 _____
                              
          ____________________

               7    Glynn and  Guevara  reached  identical results  through
                    _____      _______
          different  means.   Though concluding  that limiting  recovery in
          cure and maintenance claims was  consistent with Miles, the Ninth
                                                           _____
          Circuit relied  primarily  on its  conclusion that  there was  no
          legal  support for  punitive damages in  such cases.   57 F.3d at
          1504-05.

               8  The Fifth Circuit delineated two types of maintenance and
          cure actions:  one based in tort involving the deterioration of a
          seaman's health due  to failure to provide maintenance  and cure;
          and one  based in  contract, not  requiring personal injury,  but

                                         -15-














          principle"  and excluded punitive damages.   Id. at  1512-13.  As
                                                       ___

          the  court  reasoned,  "[i]t  makes  little  sense  to  create  a

          fragmentation of  admiralty law  by allowing punitive  damages in

          one  class of maintenance and  cure cases" while disallowing them

          in another.  Id. at 1513.  
                       ___

               Guevara does not assist  defendants in any way.   Rather, it
               _______

          merely illustrates, as do the other post-Miles cases cited above,
                                                   _____

          that  Miles  may be  applicable in  those  areas of  maritime law
                _____  ___

          where, at the very  least, there is an overlap  between statutory

          and decisional law.   In the instant  case, however, there  is no

          legislation  whatever that  touches upon  circumstances involving

          the  reckless or willful destruction of  property.  Quite simply,

          Congress has not spoken,  and we consequently see no  basis under

          Miles for barring nonpecuniary relief here.    
          _____

               Defendants' contention that it  would be peculiar to provide

          plaintiffs greater  relief for property damage  than for personal

          injury  has some force.  The concern expressed in Miles, however,
                                                            _____

          was  not  with respect  to an  award  of nonpecuniary  damages in

          maritime   cases  in   general,   but  with   inconsistency  with

          Congressional pronouncement.   Miles  does not mandate  a uniform
                                         _____

          result for every maritime  action and we are hesitant  to ascribe

          to the Court a holding that goes  well beyond any issue discussed


                              
          ____________________

          claiming reimbursement  for the personal  outlay of funds.   Even
          though  Guevara  brought the  latter type  of claim,  because the
          tort-like action  "overlaps with the personal  injury coverage of
          the  Jones  Act,"  id. at  1511,  the  court  concluded that  the
                             ___
          legislative scheme affected his recovery.     

                                         -16-














          there.  See United States v. London, 66 F.3d 1227, 1241 (1st Cir.
                  ___ _____________    ______

          1995).  

               In sum, in the absence of any relevant legislation, we think

          that   the   uniformity   principle   enunciated   in  Miles   is
                                                                 _____

          inapplicable.   Therefore,  plaintiffs are  entitled to  forms of

          relief  traditionally available  under the general  maritime law,

          including punitive damages.   Accordingly, we affirm the district

          court's determination that punitive damages are recoverable under

          plaintiff's general maritime claim.

          B.  Niles' Conduct
          B.  Niles' Conduct

               Having  held that  punitive  damages are  available, we  now

          address  defendants'  claim  that  the district  court  erred  in

          finding that Niles' conduct warranted them.

               The award of punitive damages is within the sound discretion

          of the district court.  Muratore, 845 F.2d at 354.  We review the
                                  ________

          factual findings in support of the award for clear error.  Bergen
                                                                     ______

          v. F/V St. Patrick, 816 F.2d 1345, 1349  (9th Cir. 1987).  And we
             _______________

          reiterate that  the only circumstances  that support an  award of

          punitive damages are "where defendant's actions were intentional,

          deliberate  or  so  wanton  and  reckless  as  to  demonstrate  a

          conscious disregard of the rights of others."  Muratore, 845 F.2d
                                                         ________

          at 354.

               The court  awarded punitive damages upon  finding that Niles

          acted in reckless  disregard for  the property rights  of CEH  in

          towing  through   its   trawls,  and   acted  intentionally   and

          maliciously in  destroying trawl  lines and traps.   In  reaching


                                         -17-














          these  conclusions,   the  district  court  relied   on  evidence

          pertaining  to the time before,  during and after  the conduct in

          question.  

               The  testimony indicated that prior  to May 1992, apart from

          the general  conflict between lobstermen and  trawlers, Niles and

          the Handrigans had been  involved in a dispute over  a generator.

          As a result of this row, Niles, as a matter of custom, refused to

          return any  gear  to the  COURTNEY  ELIZABETH regardless  of  its

          condition.   Niles  also acknowledged  that, at  the time  of the

          trip,  he was  aware  that the  COURTNEY  ELIZABETH was  laid  up

          undergoing repairs.

               Niles'  actions  during  the  trip, as  reported  by  Baker,

          directly  support the court's findings.   Early on, Niles ordered

          that "no  gear comes home, and  all traces of lines  and stuff go

          over  board."   Later,  Niles  operated  the  SEAFARER  in  close

          proximity to high fliers, and at  one point, dragged a high flier

          behind the  boat.  His  crewmen cut and  disposed of  trawl lines

          that became entangled  in the  nets of the  SEAFARER, and  dumped

          overboard  all  gear brought  on  board,  including all  workable

          traps.  Niles  even joked about  selling gear back to  the owner.

          After  the trip,  Niles phoned  Baker in  an effort  to influence

          Baker to change his story.  The district court, quite accurately,

          characterized Niles' explanation of this  call -- to get  Baker's

          phone number --  as "to  say the least  foolish, circuitous,  and

          illogical."




                                         -18-














               Defendants,  again, protest  that these  findings are  based

          solely on Baker's  testimony; again,  this is of  no avail.   See
                                                                        ___

          Rivera-Gomez, 900 F.2d at 4.  And, even if defendants are correct
          ____________

          that  there is inconclusive proof that each line cut or each trap

          dumped belonged  to  CEH, the  record contains  more than  enough

          factual support  to  demonstrate  Niles'  willful  and  malicious

          conduct  toward CEH.  Therefore,  we affirm the  court's award of

          punitive damages against Niles.  

          C.  Vicarious Liability
          C.  Vicarious Liability

               The district  court found Doyle liable  for punitive damages

          under the standard enunciated in  Restatement (Second) of Torts  
                                            _____________________________

          909(c),9  because  Doyle  delegated "nearly  absolute  managerial

          authority" to Niles.   The adoption of the Restatement  rule as a
                                                     ___________

          basis  of liability  is a  question of  first impression  in this

          circuit,  although we alluded to it in Muratore, 845 F.2d at 354-
                                                 ________

                              
          ____________________

               9  Section 909 states:

                    Punitive damages can properly be awarded against a
               master or  other  principal because  of  an act  by  an
               agent, if but only if, 

                    (a) the principal or  a managerial agent authorized the
                    doing and the manner of the act, or

                    (b)  the  agent  was  unfit  and  the  principal  or  a
          managerial          agent  was reckless in employing or retaining
          him, or

                    (c) the agent was employed in a managerial capacity and
                        ___________________________________________________
                    was acting in the scope of employment, or
                    _____________________________________

                    (d)  the  principal  or   a  managerial  agent  of  the
          principal           ratified or approved the act.

          (Emphasis added.)

                                         -19-














          56.       Muratore concerned  the liability  of a  ship charterer
                    ________

          for the  acts of ship photographers  that constituted intentional

          infliction of emotional distress.   We discussed three approaches

          courts have taken  when addressing the  liability of a  principal

          who  neither  authorizes  nor  ratifies  her  agent's misconduct.

          Under   the  majority  approach,  punitive  damages  are  treated

          indistinguishably   from   compensatory  ones,   and  traditional

          respondeat  liability attaches.  Id. at 354.  Principals are held
                                           ___

          accountable  for their  agents'  misdeeds that  occur within  the

          scope of  employment.   In  contrast, a  significant minority  of

          courts follow the strict  complicity rule of Lake Shore  &amp; M.S.R.
                                                       ____________________

          Co.  v. Prentice,  147  U.S. 101  (1893), which  limits principal
          ___     ________

          liability to those acts  participated in, authorized or ratified.

          Finally,  the   Restatement  rule  incorporates  the  Lake  Shore
                          ___________                           ___________

          limitation but extends liability,  regardless of authorization or

          ratification, to acts committed by a  managerial agent within the

          scope of employment.  845 F.2d at 355.

               In  Muratore,  we  declined  to follow  the  majority  view,
                   ________

          favoring a more limited approach to "ensure that punitive damages

          are  awarded   against  the   guilty  offender."  Id.     Further
                                                            ___

          discriminating   between   the   latter  two   formulations   was

          unnecessary as the  plaintiff did not satisfy the requirements of

          either one.  Now, however, our determination of Doyle's liability

          hinges upon which standard we adopt, because although there is no

          evidence that  Doyle authorized, ratified or  participated in the




                                         -20-














          wrongdoing,  it  is  clear   that  Niles  meets  the  "managerial

          capacity" criteria.

               We  turn  first to  precedent.   In  The Amiable  Nancy, the
                                                    __________________

          Supreme Court rejected the imposition of punitive damages against

          the  owners of  THE  SCOURGE for  the  privateering acts  of  her

          captain  and  crew because   "[the  owners]  are innocent  of the

          demerit  of this  transaction,  having neither  directed it,  nor

          countenanced it, nor participated in it in the slightest degree."

          16  U.S.  (3  Wheat.)  546,  559  (1818).    The  requirement  of

          complicity of some sort became further entrenched in Lake  Shore,
                                                               ___________

          where in rejecting  a punitive  award against a  railway for  the

          harassing conduct of its train conductor, the Court stated:

                    Exemplary  or punitive damages, being awarded, not
               by way of compensation  to the sufferer, but by  way of
               punishment of the offender, and as a warning to others,
               can only be awarded against one who has participated in
               the offence.  A  principal, therefore, though of course
               liable to  make compensation  for injuries done  by his
               agent  within the  scope of  his employment,  cannot be
               held liable for  exemplary or punitive  damages, merely
               by reason of wanton,  oppressive or malicious intent on
               the part of the agent.

          147 U.S.  at 107.  Although Lake Shore was not an admiralty case,
                                      __________

          a  number of  admiralty  courts have  followed this  proposition,

          rejecting  liability  absent principal  complicity of  some sort.

          See,  e.g., Matter of P &amp; E Boat Rentals, Inc., 872 F.2d 642, 652
          ___   ____  __________________________________

          (5th Cir. 1989); U.S. Steel Corp. v. Fuhrman, 407 F.2d 1143, 1148
                           ________________    _______

          (6th  Cir. 1969);  Jones v. Compagnie  Generale Maritime,  882 F.
                             _____    ____________________________

          Supp. 1079, 1086 (S.D. Ga. 1995); The Seven Brothers, 170 F. 126,
                                            __________________

          127 (D.R.I. 1909).  



                                         -21-














               In Fuhrman, the Sixth Circuit reversed an award of  punitive
                  _______

          damages against U.S. Steel for the actions of one of its captains

          who decided to try to beach his holed  vessel rather than abandon

          ship.  The court took the position that the captain in good faith

          used his  best judgment, not irrational  under the circumstances,

          "for the  benefit of all concerned."   407 F.2d at  1147.  Rather

          than rest on  this conclusion, which  would make unnecessary  any

          consideration of  the vessel owner's liability,  the court opined

          that "even if" the captain's actions warranted punitive damages:

                    We think the better  rule is that punitive damages
               are not recoverable against  the owner of a vessel  for
               the act of the  master unless it can be shown  that the
               owner  authorized or  ratified the  acts of  the master
               either before or after  the accident.  Punitive damages
               also  may be recoverable if the acts complained of were
               those  of an unfit master and the owner was reckless in
               employing him.

          Id. at 1148.
          ___

               The Fifth Circuit followed Fuhrman in  Matter of P &amp; E  Boat
                                          _______     _____________________

          Rentals,  Inc., 872  F.2d at  652.   That case  involved multiple
          ______________

          wrongful  death   and  personal  injury  claims  brought  against

          Chevron,  USA, following a  serious collision  caused in  part by

          Chevron  foremen who  directed  a charter  vessel  to operate  in

          extremely foggy conditions.  The court  observed that the foremen

          were  low level  supervisors with  no policymaking  authority and

          stated:  

                    We hold  simply that  punitive damages may  not be
               imposed against a corporation  when one or more of  its
               employees decides on his own  to engage in malicious or
               outrageous conduct.   In  such a case,  the corporation
               itself  cannot be  considered  the wrongdoer.   If  the
               corporation  has formulated  policies and  directed its
               employees  properly,  no  purpose would  be  served  by

                                         -22-














               imposing punitive damages against it except to increase
               the amount of the judgment.

            Id.
            ___

               In  contrast,   the  Ninth   Circuit,  in  Protectus   Alpha
                                                          _________________

          Navigation Co.  v. North  Pacific Grain  Growers, Inc.,  767 F.2d
          ______________     ___________________________________

          1379 (9th Cir. 1985), expressly adopted the Restatement rule.  In
                                                      ___________

          that  case, North  Pacific's dock  foreman set  adrift a  burning

          vessel in defiance  of firemen's  orders.  This  conduct in  part

          caused the destruction of the vessel and the  death of a fireman.

          Because the  foreman acted  with "reckless or  callous disregard"

          for  the  rights  of  Protectus  Alpha,  and  because  he  was  a

          managerial employee of North  Pacific acting in the scope  of his

          employment, the  court upheld the imposition  of punitive damages

          against North Pacific.  Id. at 1385-87.
                                  ___

               Justifying its  adoption of the Restatement  rule, the court
                                               ___________

          reasoned:

                    We  believe the standard of the Restatement better
               reflects the  reality of modern corporate  America.  We
               agree  that  a corporation  can  act  only through  its
               agents   and   employees,   and  that   no   reasonable
               distinction  can  be  made  between the  guilt  of  the
               employee  in a  managerial  capacity acting  within the
               scope  of   his  employment   and  the  guilt   of  the
               corporation.  22  Am.Jur.2d, Damages   261  (1965).  It
               seems obvious that  no corporate executive or  director
               would  approve  the  egregious acts  to  which punitive
               damages  would attach, and,  therefore, no recovery for
               more  than  compensatory  damages  could  ever  be  had
               against  a  corporation  if  express  authorization  or
               ratification were always required.

          Id. at 1386.
          ___

               In  sum,  both  approaches  draw  support   from  precedent.

          Although  the  Supreme  Court  cases  cited  adopted  the  strict


                                         -23-














          complicity view,  we do not believe the  early nineteenth century

          decision  in   The  Amiable   Nancy  and  the   late  nineteenth,
                         ____________________

          nonadmiralty  decision in  Lake  Shore dictate  the result  here.
                                     ___________

          Neither  considered the  more  modern concerns  reflected in  the

          contrary caselaw and, indeed, the  Court has indicated that  Lake
                                                                       ____

          Shore may have  been unduly  restrictive even for  its own  time.
          _____

          American  Society  of  Mechanical Engineers,  Inc.  v. Hydrolevel
          __________________________________________________     __________

          Corp.,  456  U.S. 556,  575 n.14  (1982)  ("[T]he Court  may have
          _____

          departed from  the trend of  late 19th-century decisions  when it

          issued  Lake Shore.").    We  note,  moreover, that  most  courts
                  __________

          outside the maritime context  do not follow Lake Shore.   Id.; W.
                                                      __________    ___

          Page Keeton,  et al., Prosser and  Keeton on the Law  of Torts 13
                                ________________________________________

          (5th  ed.  1984).     This  growing  body  of  precedent   is  of

          significance because  we discern no reason,  and defendants point

          to none, why vicarious liability should be treated differently on

          sea than on  land.   See Archer v.  Trans/American Services,  834
                               ___ ______     _______________________

          F.2d  1570, 1573 (11th Cir. 1988) ("Federal maritime law embraces

          the  principles of  agency.").   After  all,  Lake Shore  itself,
                                                        __________

          though repeatedly  cited by admiralty courts, was  not a maritime

          case. 

               After  giving   both  perspectives  due   consideration,  we

          conclude that  strict adherence to the  complicity approach would

          shield   a  principal,   who,   though  not   guilty  of   direct

          participation,  authorization  or  ratification  in  his  agent's

          egregious conduct, nevertheless shares blame for  the wrongdoing.

          Therefore,  we  believe that  some  features  of the  Restatement
                                                                ___________


                                         -24-














          approach  are  helpful here.    In our  view,  imposing vicarious

          liability on  a principal for the  act of an agent  employed in a

          managerial  capacity  and  acting  in  the  scope  of  employment

          represents an appropriate  evolution of the  Lake Shore rule,  at
                                                       __________

          least  when linked to requiring some level of culpability for the

          misconduct.  

               Our approach today falls short of  wholesale adoption of the

          Restatement because section 909(c),  read literally, could impose
          ___________

          liability in circumstances  that do not demonstrate  any fault on

          the  part of  the principal.   Because this  is not  such a case,

          however, we need not  resolve whether the Restatement's vicarious
                                                    ___________

          liability principle would in fact reach so far.

               Whatever  the  outer  parameters  of  "managerial  capacity"

          liability may be, the district  court supportably found that  the

          circumstances here  justified the imposition of  punitive damages

          against Doyle.  In so concluding, the district court discussed at

          some length the intertwined issues of Niles' managerial authority

          and Doyle's culpability in failing to supervise Niles.  Niles had

          total  authority  to hire  and fire  the  crew, to  determine the

          duration,  location and  targets of  the trips,  and to  sell the

          catch  wherever  he  chose.    In  short,  Niles   had  "complete

          managerial  discretion over  the means  and methods  of fishing."

          Niles set forth and implemented whatever policy, if any, the crew

          of  the SEAFARER followed.  Moreover, the decisions made by Niles

          directly affected the success of Doyle's fishing business. 




                                         -25-














               This delegation  of complete managerial discretion  was made

          notwithstanding Doyle's knowledge that "he had hired his captains

          to work in  an atmosphere  characterized in part  by the  tension

          that  raged between lobstermen and draggers."  Not only was there

          a  complete  delegation  of   authority  in  a  troublesome  work

          situation, but also a  complete absence of any policy  directive,

          written or oral,  regarding the operation  of Doyle's vessels  in

          lobster trawl  areas.   This combination of  circumstances places

          this case well within the sphere of culpability.10 

               As applied here, the imposition of punitive damages, in  the

          district court's words, "encourages shipowners to  hire qualified

          and responsible  captains and to exercise  supervisory power over

          them."  In addition,  it fairly punishes Doyle for his failure to

          provide any supervision over his captains.   In short, therefore,

          the  district  court's  award  properly serves  the  purposes  of

          punitive  damages:  "to punish defendant and to deter others from

          engaging   in  like  manner."     Muratore,  845   F.2d  at  354.
                                            ________

          Accordingly,  we affirm  the  award of  punitive damages  against

          Doyle.  

          D.  The Amount of the Awards
          D.  The Amount of the Awards
                              
          ____________________

               10  In addition, these factors further distinguish Matter of
                                                                  _________
          P &amp; E Boat Rentals and Fuhrman.  In the former case, as indicated
          __________________     _______
          earlier, the  Fifth Circuit rejected vicarious  liability in part
          because the "corporation ha[d] formulated policies."  872 F.2d at
          652.   In  the latter,  the Sixth  Circuit, upon  considering the
          unique  emergency  circumstances  involved,  concluded  that  the
          captain  had "the responsibility to make the final decision as to
          what  the proper course of action  must be in view  of all of the
          factors concerned."  407 F.2d at 1147.  Here, in contrast, Niles'
          misconduct occurred  during the regular course  of operations, an
          area where the owner could have and should have set policy.

                                         -26-














               Finally, we  address defendants' arguments that  the amounts

          awarded in punitive  damages were  excessive and in  error.   The

          court  assessed punitive  damages against  Niles for  $10,000 and

          Doyle for $50,000.

               We begin  by  stating two  basic  propositions.   First,  we

          review the  district court's determination of  the correct amount

          of punitive damages for clear error.  See American Title Ins. Co.
                                                ___ _______________________

          v.  East  West  Financial, 16  F.3d  449,  461  (1st Cir.  1994).
              _____________________

          Second,  punitive  damages  are  solely  intended  to  serve  the

          purposes  of punishment  and deterrence,  and should  not provide

          plaintiff  with a  windfall.  Aldrich v.  Thomson McKinnon  Sec.,
                                        _______     _______________________

          Inc., 756 F.2d 243,  249 (2d Cir.  1985); Ramsey v. American  Air
          ____                                      ______    _____________

          Filter Co., 772 F.2d 1303, 1314 (7th Cir. 1985).  Taken together,
          __________

          we  will not disturb  an award of punitive  damages unless we are

          certain that  it is greater  than reasonably necessary  to punish

          and deter.  See Pacific Mut. Life Ins. Co. v. Haslip, 499 U.S. 1,
                      ___ __________________________    ______

          21-22 (1991); Vasbinder  v. Scott,  976 F.2d 118,  121 (2nd  Cir.
                        _________     _____

          1992)  (quoting Haslip, 499 U.S.  at 21) ("Thus,  the function of
                          ______

          appellate review of punitive damages is to make 'certain that the

          punitive damages are  reasonable in their amount  and rational in

          light of their purpose to punish  what has occurred and to  deter

          its repetition.'").

               The Supreme Court has  rejected a "mathematical bright line"

          approach  to the award of punitive damages.   Haslip, 499 U.S. at
                                                        ______

          18;  TXO Production Corp. v. Alliance Resources Corp., 113 S. Ct.
               ____________________    ________________________

          2711,  2721  (1993)  (rejecting  "an  approach  that concentrates


                                         -27-














          entirely  on   the  relationship  between  actual   and  punitive

          damages").  Instead, the Court has indicated that an award should

          be reasonable  in light of  various considerations,  such as  the

          magnitude  of harm caused or potentially caused and the net worth

          of the  defendant.  See TXO, 113 S.Ct.  at 2722 &amp; n.28.  Contrary
                              ___ ___

          to defendants'  exhortations, there  is no general  rule defining

          the  maximum  proportion  of  net  worth  that  may  be  exacted.

          However,  an award should not result in the defendant's financial

          ruin.   Vasbinder, 976 F.2d  at 121; Arceneaux  v. Merrill Lynch,
                  _________                    _________     ______________

          Pierce, F. &amp; S., 767 F.2d 1498, 1503 (11th Cir. 1985).   
          _______________

               Having set forth these basic considerations, we address each

          award  in  turn.    The  assessment  of  $10,000   against  Niles

          constitutes  approximately  55%  of  his net  worth  of  $18,250.

          Undoubtedly,   this   award   will   cause   financial  hardship.

          Nonetheless, we  are satisfied that the  district court carefully

          considered   Niles'   financial  status   when   fashioning  this

          punishment.   We cannot  hold as a  matter of law  that the award

          exceeds an  amount  appropriate for  punishment  and  deterrence,

          particularly in light of  Niles' willful misconduct in destroying

          CEH's  property and  in  attempting to  conceal that  misconduct.

          Therefore, we affirm the amount of Niles' award.  

               In  light of  Doyle's higher  net worth,  the  court awarded

          punitive damages against  him in  the amount of  $50,000.   Doyle

          argues that  it is "fundamentally  unjust" to punish  a principal

          who  did not commit  the misconduct  at a  higher level  than the

          actual perpetrator.  Notwithstanding the difference in amount, we


                                         -28-














          note  that,  in  terms  of  net  worth,  Doyle's  punishment   is

          proportionately much less than Niles'.  Moreover, it is axiomatic

          that any  theory of  vicarious liability will  inevitably involve

          charging  liability  upon  a  less  directly involved  principal.

          Additionally, the consideration of  Doyle's net worth is integral

          to the objectives of punitive damages:  it ensures that the award

          is neither too severe nor too trivial.

               We cannot, therefore,  conclude as  a matter of  law that  a

          $50,000 award here  is clearly  erroneous.  We  affirm the  award

          imposed against Doyle.  



          Affirmed.
          Affirmed.
          _________






























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